    Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 1 of 22 PageID 1



                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

SHALEI MORSE,

        Plaintiff,

v.                                                           CASE NO.

TPUSA, INC. and FIRST CONTACT, LLC,

        Defendants.


                                                COMPLAINT

        1.       Unwanted “Robocalls” are the #1 consumer complaint in America today.

        2.       The people complaining about harassing robocalls is increasing at an alarming rate.

In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal

Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was

4,501,967.1

        3.       The Defendants, TPUSA, Inc., and First Contact, LLC, robocalled the Plaintiff a

mindboggling 700 times.

        4.       The Defendants, TPUSA, Inc, and First Contact, LLC, each have a corporate policy

to robocall people thousands of times.

        5.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

137 Cong. Rec. 30, 821 (1991).              Senator Hollings presumably intended to give telephone


1
 It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
years
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 2 of 22 PageID 2



subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

years ago, robocall abuse continues to skyrocket.

       6.      Plaintiff, Shalei Morse, alleges Defendants, TPUSA, Inc, and First Contact, LLC,

(hereinafter referred to collectively as “Defendants”), robocalled her more than 700 times in stark

violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”), the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), the Florida Consumer

Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”), Invasion of Privacy (“IOP”), and

Intentional Infliction of Emotional Distress (“IIED”).

       7.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

(2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

Consumer Protection, Federal Trade Commission).

       8.      The TCPA was enacted to prevent companies like Defendants from invading

American citizens’ privacy and prevent illegal robocalls.

       9.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

decided that "banning" such calls made without consent was "the only effective means of

protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,



                                                   2
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 3 of 22 PageID 3



§§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

       10.     According to findings by the FCC—the agency Congress vested with authority to

issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

wireless customers are charged for incoming calls whether they pay in advance or after the minutes

are used.

                                JURISDICTION AND VENUE

       11.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. §1331.

       12.     Violations described in the Complaint occurred while Plaintiff was in Holiday,

Florida.

                                      FACTUAL ALLEGATIONS


       13.     Plaintiff is a natural person and citizen of the State of Florida, residing in Holiday,

Florida.

       14.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §

1692(a)(3).

       15.     Plaintiff is an “alleged debtor.”

       16.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       17.     Defendant, TPUSA, Inc., is a corporation with its principal place of business in

Murray, Utah, and conducts business in the State of Florida.
                                                   3
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 4 of 22 PageID 4



       18.        Defendant, TPUSA, Inc., is a “debt collector” as defined by Florida Statute §

559.55(7) and 15 U.S.C. § 1692(a)(6).

       19.        Defendant, First Contact, LLC, is a corporation with its principal place of business

in St. Petersburg, Florida, and conducts business in the State of Florida.

       20.        Defendant, First Contact, LLC, is a “debt collector” as defined by Florida Statute §

559.55(7) and 15 U.S.C. § 1692(a)(6).

       21.        The debt that is the subject matter of this complaint is a “consumer debt” as defined

by Florida Statute § 559.55(6) and 15 U.S.C. § 1692(a)(5).

       22.        Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(727) 815-6513.

       23.        Plaintiff was the “called party” during each phone call subject to this lawsuit.

       24.        Defendant, TPUSA, Inc., intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day, and on back to back days, with such frequency

as can reasonably be expected to harass.

       25.        “Express consent” is narrowly construed by the Courts.

       26.        Defendant, TPUSA, Inc., did not have the “express consent” of the Plaintiff to call

her cell phone.

       27.        It is the Defendant, TPUSA, Inc.’s, burden to prove they had “express consent” per

the TCPA to call the Plaintiff on her cell phone using an “automatic telephone dialing system”

(ATDS).

       28.        It is the Defendant, TPUSA, Inc.’s, burden to prove they had “express consent” per

the TCPA to call the Plaintiff on her cell phone using an ATDS for each account they were calling

on.

                                                    4
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 5 of 22 PageID 5



       29.        Defendant, TPUSA, Inc., was put on notice Plaintiff did not want the Defendant

contacting her.

       30.        Defendant, TPUSA, Inc., did not have the express consent of the Plaintiff to call

her on the accounts they called her on.

       31.        Plaintiff expressly revoked any express consent Defendant, TPUSA, Inc., may

have mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned

cellular telephone number by the use of an ATDS or a pre-recorded or artificial voice.

       32.        Defendant, TPUSA, Inc., attempted to collect a debt from the Plaintiff by this

campaign of telephone calls.

       33.        Defendant, TPUSA, Inc., made at least one call to (727) 815-6513.

       34.        Defendant, TPUSA, Inc., made at least one call to (727) 815-6513 using an ATDS.

       35.        Defendant, TPUSA, Inc., made at least one hundred and fifty (150) calls to (727)

815-6513.

       36.        Defendant, TPUSA, Inc., made at least one hundred and fifty (150) calls to (727)

815-6513 using an ATDS.

       37.        Defendant made at least two hundred and fifty (250) calls to (727) 815-6513.

       38.        Defendant made at least two hundred and fifty (250) calls to (727) 815-6513 using

an ATDS.

       39.        Each call the Defendant, TPUSA, Inc., made to (727) 815-6513 in the last four

years was made using an ATDS.

       40.        Each call the Defendant, TPUSA, Inc., made to the Plaintiff’s cell phone was done

so without the “express permission” of the Plaintiff.



                                                   5
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 6 of 22 PageID 6



       41.     Defendant, TPUSA, Inc., has called other people’s cell phones without their express

consent.

       42.     Each call the Defendant, TPUSA, Inc., made to the Plaintiff was made using an

ATDS, which has the capacity to store or produce telephone numbers to be called, without human

intervention, using a random or sequential number generator; and to dial such numbers as specified

by 47 U.S.C § 227(a)(1).

       43.     The calls at issue were placed by the Defendant, TPUSA, Inc., using a “prerecorded

voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

       44.     Plaintiff repeatedly requested the Defendant to stop calling        her cell phone,

however, the Defendant, TPUSA, Inc., continued to make calls.

       45.     Defendant, TPUSA, Inc., has admitted to calling cell phones using an ATDS after

that person asked for the calls to stop.

       46.     Plaintiff’s conversations with the Defendant, TPUSA, Inc., putting them on notice

that they did not want more phone calls were ignored.

       47.     Defendant, TPUSA, Inc., has recorded at least one conversation with the Plaintiff.

       48.     Defendant, TPUSA, Inc., has recorded numerous conversations with the Plaintiff.

       49.     Defendant, TPUSA, Inc., has made approximately two hundred and fifty (250) calls

to Plaintiff’s aforementioned cellular telephone number since in or about August 2016 which will

be established exactly once Defendant turns over their dialer records.

       50.     Despite actual knowledge of their wrongdoing, the Defendant, TPUSA, Inc.,

continued the campaign of abusive robocalls.

       51.     Defendant, TPUSA, Inc., has been sued in federal court where the allegations

include: calling an individual using an ATDS after the individual asked for the calls to stop.

                                                 6
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 7 of 22 PageID 7



       52.     By effectuating these unlawful phone calls, Defendant, TPUSA, Inc., has caused

Plaintiff the very harm that Congress sought to prevent—namely, a "nuisance and invasion of

privacy."

       53.     Defendant, TPUSA, Inc.’s, aggravating and annoying phone calls trespassed upon

and interfered with Plaintiff’s rights and interests in her cellular telephone and cellular telephone

line, by intruding upon Plaintiff’s seclusion.

       54.     Defendant, TPUSA, Inc.’s, phone calls harmed Plaintiff by wasting her time.

       55.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

telephone service provider.

       56.     Defendant, TPUSA, Inc.’s, corporate policy and procedures are structured as to

continue to call individuals like the Plaintiff, despite these individuals revoking any consent the

Defendant may have mistakenly believed it had.

       57.     Defendant, TPUSA, Inc.’s, corporate policy and procedures provided no means for

the Plaintiff to have her aforementioned cellular number removed from the call list.

       58.     Defendant, TPUSA, Inc., has a corporate policy of using an ATDS or a prerecorded

or artificial voice message to collect debts from individuals such as Plaintiff for its financial

benefit.

       59.     Defendant, First Contact, LLC, intentionally harassed and abused Plaintiff on

numerous occasions by calling several times during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

                                                  7
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 8 of 22 PageID 8



        60.    Defendant, First Contact, LLC, did not have the “express consent” of the Plaintiff

to call her cell phone.

        61.    It is the Defendant, First Contact, LLC’s, burden to prove they had “express

consent” per the TCPA to call the Plaintiff on her cell phone using an “automatic telephone dialing

system” (ATDS).

        62.    It is the Defendant, First Contact, LLC’s, burden to prove they had “express

consent” per the TCPA to call the Plaintiff on her cell phone using an ATDS for each account they

were calling on.

        63.    Defendant, First Contact, LLC, was put on notice Plaintiff did not want the

Defendant contacting her.

        64.    Defendant, First Contact, LLC, did not have the express consent of the Plaintiff to

call her on the accounts they called her on.

        65.    Plaintiff expressly revoked any express consent Defendant, First Contact, LLC,

may have mistakenly believed it had for placement of telephone calls to Plaintiff’s aforementioned

cellular telephone number by the use of an ATDS or a pre-recorded or artificial voice.

        66.    Defendant, First Contact, LLC, attempted to collect a debt from the Plaintiff by this

campaign of telephone calls.

        67.    Defendant, First Contact, LLC, made at least one call to (727) 815-6513.

        68.    Defendant, First Contact, LLC, made at least one call to (727) 815-6513 using an

ATDS.

        69.    Defendant, First Contact, LLC, made at least one hundred and fifty (150) calls to

(727) 815-6513.



                                                 8
 Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 9 of 22 PageID 9



       70.     Defendant, First Contact, LLC, made at least one hundred and fifty (150) calls to

(727) 815-6513 using an ATDS.

       71.     Defendant, First Contact, LLC, made at least three hundred (300) calls to (727)

815-6513.

       72.     Defendant, First Contact, LLC, made at least three hundred (300) calls to (727)

815-6513 using an ATDS.

       73.     Defendant, First Contact, LLC, made at least four hundred and fifty (450) calls to

(727) 815-6513.

       74.     Defendant, First Contact, LLC, made at least four hundred and fifty (450) calls to

(727) 815-6513 using an ATDS.

       75.     Each call the Defendant, First Contact, LLC, made to (727) 815-6513 in the last

four years was made using an ATDS.

       76.     Each call the Defendant, First Contact, LLC, made to the Plaintiff’s cell phone was

done so without the “express permission” of the Plaintiff.

       77.     Defendant, First Contact, LLC, has called other people’s cell phones without their

express consent.

       78.     Each call the Defendant, First Contact, LLC, made to the Plaintiff was made using

an ATDS, which has the capacity to store or produce telephone numbers to be called, without

human intervention, using a random or sequential number generator; and to dial such numbers as

specified by 47 U.S.C § 227(a)(1).

       79.     The calls at issue were placed by the Defendant, First Contact, LLC, using a

“prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).



                                                 9
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 10 of 22 PageID 10



        80.     Plaintiff repeatedly requested the Defendant to stop calling        her cell phone,

however, the Defendant, First Contact, LLC, continued to make calls.

        81.     Defendant, First Contact, LLC, has admitted to calling cell phones using an ATDS

after that person asked for the calls to stop.

        82.     Plaintiff’s conversations with the Defendant, First Contact, LLC, putting them on

notice that she did not want more phone calls were ignored.

        83.     Defendant, First Contact, LLC, has recorded at least one conversation with the

Plaintiff.

        84.     Defendant, First Contact, LLC, has recorded numerous conversations with the

Plaintiff.

        85.     Defendant, First Contact, LLC, has made approximately four hundred and fifty

(450) calls to Plaintiff’s aforementioned cellular telephone number since in or about August 2016

which will be established exactly once Defendant turns over their dialer records.

        86.     Despite actual knowledge of their wrongdoing, the Defendant, First Contact, LLC,

continued the campaign of abusive robocalls.

        87.     Defendant, First Contact, LLC, has been sued in federal court where the allegations

include: calling an individual using an ATDS after the individual asked for the calls to stop.

        88.     By effectuating these unlawful phone calls, Defendant, First Contact, LLC, has

caused Plaintiff the very harm that Congress sought to prevent—namely, a "nuisance and invasion

of privacy."

        89.     Defendant, First Contact, LLC’s, aggravating and annoying phone calls trespassed

upon and interfered with Plaintiff’s rights and interests in her cellular telephone and cellular

telephone line, by intruding upon Plaintiff’s seclusion.

                                                 10
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 11 of 22 PageID 11



         90.   Defendant, First Contact, LLC’s, phone calls harmed Plaintiff by wasting her time.

         91.   Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

telephone service provider.

         92.   Defendant, First Contact, LLC’s, corporate policy and procedures are structured as

to continue to call individuals like the Plaintiff, despite these individuals revoking any consent the

Defendant may have mistakenly believed it had.

         93.   Defendant, First Contact, LLC’s, corporate policy and procedures provided no

means for the Plaintiff to have her aforementioned cellular number removed from the call list.

         94.   Defendant, First Contact, LLC’s, has a corporate policy of using an ATDS or a

prerecorded or artificial voice message to collect debts from individuals such as Plaintiff for its

financial benefit.

         95.   Plaintiff expressly revoked any consent Defendants may have mistakenly believed

it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

of an ATDS or a pre-recorded or artificial voice immediately upon Defendants’ placement of the

calls. Making money while breaking the law is considered an incentive to continue violating the

TCPA and other state and federal statutes.

         96.   Defendants never had the Plaintiff’s expressed consent for placement of telephone

calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

voice.



                                                  11
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 12 of 22 PageID 12



       97.     None of Defendants’ telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

       98.     Defendants violated the TCPA, FDCPA and FCCPA with respect to the Plaintiff.

       99.     Defendants willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                COUNT I
                             (Violation of the TCPA Against TPUSA, Inc.)

       100.    Plaintiff incorporates Paragraphs one (1) through sixty (60) and ninety-five (95)

through ninety nine (99).

       101.    Defendant, TPUSA, Inc., willfully violated the TCPA with respect to the Plaintiff

each time they called the Plaintiff after she revoked her consent to be called by them using an

ATDS or pre-recorded voice.

       102.    Defendant, TPUSA, Inc., knowingly violated the TCPA with respect to the

Plaintiff, especially for each of the auto-dialed calls made to Plaintiff’s cellular telephone after

Plaintiff revoked her consent to be called by them using an ATDS or pre-recorded voice.

       103.    Defendant, TPUSA, Inc., repeatedly placed non-emergency telephone calls to the

wireless telephone number of Plaintiff using an automatic telephone dialing system or prerecorded

or artificial voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

       104.    As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

violation of the TCPA.

       105.    Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

TPUSA, Inc., from violating the TCPA in the future.


                                                   12
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 13 of 22 PageID 13



       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                           COUNT II
                        (Violation of the FDCPA Against TPUSA, Inc.)

       106.    Plaintiff incorporates Paragraphs one (1) through sixty (60) and ninety-five (95)

through ninety nine (99).

       107.    At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

       108.    Defendant, TPUSA, Inc., engaged in an act or omission prohibited under 15 U.S.C.

§ 1692(d) by willfully engaging in conduct the natural consequence of which is to harass, oppress,

or abuse any person in connection with the collection of a debt.

       109.    Defendant, TPUSA, Inc., engaged in an act or omission prohibited under 15 U.S.C.

§ 1692(d)(5) by causing a telephone to ring or engaging any person in telephone conversation

repeatedly or continuously with intent to annoy, abuse, or harass any person at the called number.

       110.    Defendant, TPUSA, Inc., engaged in an act or omission prohibited under 15 U.S.C.

§ 1692(f) by using unfair and unconscionable means to collect or attempt to collect any debt.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.

                                           COUNT III
                        (Violation of the FCCPA Against TPUSA, Inc.)

       111.    Plaintiff incorporates Paragraphs one (1) through sixty (60) and ninety-five (95)

through ninety nine (99).

                                                 13
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 14 of 22 PageID 14



       112.    At all times relevant to this action Defendant, TPUSA, Inc., is subject to and must

abide by the law of Florida, including Florida Statute § 559.72.

       113.    Defendant, TPUSA, Inc., has violated Florida Statute § 559.72(7) by willfully

communicating with the debtor or any member of her family with such frequency as can

reasonably be expected to harass the debtor or her family.

       114.    Defendant, TPUSA, Inc., has violated Florida Statute § 559.72(7) by willfully

engaging in other conduct which can reasonably be expected to abuse or harass the debtor or any

member of her family.

       115.    Defendant, TPUSA, Inc., has violated Florida Statute § 559.72(9) by attempting to

enforce a debt when Defendant knows that the debt is not legitimate or assert the existence of some

legal right when Defendant knows that right does not exist.

       116.    Defendant, TPUSA, Inc’s, actions have directly and proximately resulted in

Plaintiff’s prior and continuous sustaining of damages as described by Florida Statute §559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, TPUSA, Inc., for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees, enjoinder of future illegal conduct, and any other such relief

the court may deem just and proper.

                                         COUNT IV
           (Invasion of Privacy – Intrusion Upon Seclusion Against TPUSA, Inc.)

       117.    Plaintiff incorporates Paragraphs one (1) through sixty (60) and ninety-five (95)

through ninety nine (99).

       118.    Defendant, TPUSA, Inc., through its collection conduct, has repeatedly and

intentionally invaded Plaintiff’s privacy.


                                                   14
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 15 of 22 PageID 15



          119.   All of the calls made to Plaintiff’s cell phone by Defendant, TPUSA, Inc., and its

agents using an automatic telephone dialing system were made in violation of the TCPA, and were

unreasonable and highly offensive invasions of Plaintiff’s right to privacy.

          120.   Defendant’s persistent autodialed calls to her cellular phone eliminated Plaintiff’s

right to be left alone.

          121.   Defendant, TPUSA, Inc.’s, autodialed collection calls disrupted Plaintiff’s privacy,

disrupted Plaintiff’s sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during her

work, and continually frustrated and annoyed Plaintiff.

          122.   These persistent autodialed collection calls eliminated the peace and solitude that

the Plaintiff would have otherwise had in Plaintiff’s home and anywhere else Plaintiff went with

her cellular phone.

          123.   By calling her cellular phone, Plaintiff had no escape from these collection calls

either in her home or when she left the home.

          124.   By persistently autodialing Plaintiff’s cellular phone without prior express consent,

Defendant, TPUSA, Inc., invaded Plaintiff’s right to privacy, as legally protected by the TCPA,

and caused Plaintiff to suffer concrete and particularized harm.

          125.   Defendant, TPUSA, Inc.’s, harassing collection conduct and tactic of repeatedly

auto dialing Plaintiff her cellular phone after requests to stop is highly offensive to a reasonable

person.

          126.   Defendant, TPUSA, Inc., intentionally intruded upon Plaintiff’s solitude and

seclusion.

          127.   As a result of Defendant, TPUSA, Inc.’s, action or inaction, Plaintiff has been

damaged.

                                                   15
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 16 of 22 PageID 16



          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, TPUSA, Inc., for statutory damages, punitive damages, actual

damages and any other such relief the court may deem just and proper.

                                               COUNT V
                 (Intentional Infliction of Emotional Distress Against TPUSA, Inc.)

          128.    Plaintiff incorporates Paragraph one (1) through sixty (60) and ninety-five (95)

through ninety nine (99).

          129.    The harassing and abusive conduct, including the repetitive robocalls to Plaintiff,

have caused severe emotional harm and distress, embarrassment, aggravation, and other losses.

          130.    It is beyond the pale of decency to robocall anybody 250 times.

          131.    The damage to the Plaintiff was and is immense. The Plaintiff had a stunned sense

of helplessness because she could not stop the calls despite explaining that she would call the when

she had the money to make a payment on this account.

          132.    To call somebody this amount of time is inhumane.

          133.    It is utterly uncivilized to robocall someone 250 times.

          134.    If a person called another person 250 times, the caller would most likely be in prison

for criminal harassment.

          135.    This is especially true if the caller continued to make the calls after being told to

stop and never had permission to call in the first place.

          136.    The calls to Plaintiff by Defendant are harassing, aggravating and highly intrusive.

          WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for punitive damages and such other and further relief as the Court shall deem just and

proper.


                                                    16
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 17 of 22 PageID 17



                                              COUNT VI
                          (Violation of the TCPA Against First Contact, LLC)

       137.    Plaintiff incorporates Paragraphs one (1) through twenty-three (23) and sixty-one

(61) through ninety-nine (99).

       138.    Defendant, First Contact, LLC, willfully violated the TCPA with respect to the

Plaintiff each time they called the Plaintiff after she revoked her consent to be called by them using

an ATDS or pre-recorded voice.

       139.    Defendant, First Contact, LLC, knowingly violated the TCPA with respect to the

Plaintiff, especially for each of the auto-dialed calls made to Plaintiff’s cellular telephone after

Plaintiff revoked her consent to be called by them using an ATDS or pre-recorded voice.

       140.    Defendant, First Contact, LLC, repeatedly placed non-emergency telephone calls

to the wireless telephone number of Plaintiff using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiff’s prior express consent in violation of federal law,

including 47 U.S.C § 227(b)(1)(A)(iii).

       141.    As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

violation of the TCPA.

       142.    Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

First Contact, LLC, from violating the TCPA in the future.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages and any

other such relief the court may deem just and proper.

                                        COUNT VII
                    (Violation of the FDCPA Against First Contact, LLC)

                                                  17
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 18 of 22 PageID 18



        143.     Plaintiff incorporates Paragraphs one (1) through twenty-three (23) and sixty-one

(61) through ninety-nine (99).

        144.     At all times relevant to this action, Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

        145.     Defendant, First Contact, LLC, engaged in an act or omission prohibited under 15

U.S.C. § 1692(d) by willfully engaging in conduct the natural consequence of which is to harass,

oppress, or abuse any person in connection with the collection of a debt.

        146.     Defendant, First Contact, LLC, engaged in an act or omission prohibited under 15

U.S.C. § 1692(d)(5) by causing a telephone to ring or engaging any person in telephone

conversation repeatedly or continuously with intent to annoy, abuse, or harass any person at the

called number.

        147.     Defendant, First Contact, LLC, engaged in an act or omission prohibited under 15

U.S.C. § 1692(f) by using unfair and unconscionable means to collect or attempt to collect any

debt.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against for statutory damages, punitive damages, actual damages, costs, interest, attorney

fees and any other such relief the court may deem just and proper.

                                          COUNT VIII
                      (Violation of the FCCPA Against First Contact, LLC)

        148.     Plaintiff incorporates Paragraphs one (1) through twenty-three (23) and sixty-one

(61) through ninety-nine (99).

        149.     At all times relevant to this action Defendant, First Contact, LLC, is subject to and

must abide by the law of Florida, including Florida Statute § 559.72.


                                                   18
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 19 of 22 PageID 19



       150.    Defendant, First Contact, LLC, has violated Florida Statute § 559.72(7) by willfully

communicating with the debtor or any member of her family with such frequency as can

reasonably be expected to harass the debtor or her family.

       151.    Defendant,     First Contact, LLC, has violated Florida Statute § 559.72(7) by

willfully engaging in other conduct which can reasonably be expected to abuse or harass the debtor

or any member of her family.

       152.    Defendant, First Contact, LLC, has violated Florida Statute § 559.72(9) by

attempting to enforce a debt when Defendant knows that the debt is not legitimate or assert the

existence of some legal right when Defendant knows that right does not exist.

       153.    Defendant, First Contact, LLC’s, actions have directly and proximately resulted in

Plaintiff’s prior and continuous sustaining of damages as described by Florida Statute §559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, First Contact, LLC, for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees, enjoinder of future illegal conduct, and any other such relief

the court may deem just and proper.

                                         COUNT IX
        (Invasion of Privacy – Intrusion Upon Seclusion Against First Contact, LLC)

       154.    Plaintiff incorporates Paragraphs one (1) through twenty-three (23) and sixty-one

(61) through ninety-nine (99).

       155.    Defendant, First Contact, LLC, through its collection conduct, has repeatedly and

intentionally invaded Plaintiff’s privacy.

       156.    All of the calls made to Plaintiff’s cell phone by Defendant, First Contact, LLC,

and its agents using an automatic telephone dialing system were made in violation of the TCPA,

and were unreasonable and highly offensive invasions of Plaintiff’s right to privacy.
                                               19
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 20 of 22 PageID 20



        157.    Defendant’s persistent autodialed calls to her cellular phone eliminated Plaintiff’s

right to be left alone.

        158.    Defendant, First Contact, LLC’s, autodialed collection calls disrupted Plaintiff’s

privacy, disrupted Plaintiff’s sleep, disrupted Plaintiff during mealtimes, disrupted Plaintiff during

her work, and continually frustrated and annoyed Plaintiff.

        159.    These persistent autodialed collection calls eliminated the peace and solitude that

the Plaintiff would have otherwise had in Plaintiff’s home and anywhere else Plaintiff went with

her cellular phone.

        160.    By calling her cellular phone, Plaintiff had no escape from these collection calls

either in her home or when she left the home.

        161.    By persistently autodialing Plaintiff’s cellular phone without prior express consent,

Defendant, First Contact, LLC, invaded Plaintiff’s right to privacy, as legally protected by the

TCPA, and caused Plaintiff to suffer concrete and particularized harm.

        162.    Defendant, First Contact, LLC’s,        harassing collection conduct and tactic of

repeatedly auto dialing Plaintiff to her cellular phone after requests to stop is highly offensive to a

reasonable person.

        163.    Defendant, First Contact, LLC, intentionally intruded upon Plaintiff’s solitude and

seclusion.

        164.    As a result of Defendant, First Contact, LLC’s, action or inaction, Plaintiff has been

damaged.

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant, First Contact, LLC, for statutory damages, punitive damages, actual

damages and any other such relief the court may deem just and proper.

                                                   20
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 21 of 22 PageID 21



                                           COUNT X
          (Intentional Infliction of Emotional Distress Against First Contact, LLC)

       165.    Plaintiff incorporates Paragraph one (1) through twenty-three (23) and sixty-one

(61) through ninety-nine (99).

       166.    The harassing and abusive conduct, including the repetitive robocalls to Plaintiff,

have caused severe emotional harm and distress, embarrassment, aggravation, and other losses.

       167.    It is beyond the pale of decency to robocall anybody 450 times.

       168.    The damage to the Plaintiff was and is immense. The Plaintiff had a stunned sense

of helplessness because she could not stop the calls despite explaining that she would call the when

she had the money to make a payment on this account.

       169.    To call somebody this amount of time is inhumane.

       170.    It is utterly uncivilized to robocall someone 450 times.

       171.    If a person called another person 450 times, the caller would most likely be in prison

for criminal harassment.

       172.    This is especially true if the caller continued to make the calls after being told to

stop and never had permission to call in the first place.

       173.    The calls to Plaintiff by Defendant are harassing, aggravating and highly intrusive.




                                                  21
Case 8:18-cv-02297-CEH-AAS Document 1 Filed 09/17/18 Page 22 of 22 PageID 22



          WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for punitive damages and such other and further relief as the Court shall deem just and

proper.



                                             Respectfully submitted,

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                                                22
